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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SA CV 14-01852-JVS (JDEx)                                             Date     October 7, 2021
 Title             Yellowstone Women’s First Step House, Inc., et al v City of Costa Mesa



 Present: The Honorable            James V. Selna, U.S. District Court Judge
                       Deborah Lewman                                                  Not Present
                         Deputy Clerk                                                 Court Reporter
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                          Not Present                                                  Not Present

 Proceedings:           [IN CHAMBERS] ORDER TO SHOW CAUSE RE ORDER REGARDING
                        MOTION TO RE TAX COSTS [573]

        On September 8, 2021, the Ninth Circuit affirmed in part and remanded in part for further
proceedings with respect to this Court’s award of costs. Yellowstone Womens First Step House, Inc. v.
City of Costa Mesa, No. 19-56410 (Sept. 8, 2021). In particular, the Ninth Circuit directed this Court to
reconsider its award in light of Green v. Mercy Housing, Inc., 991 F.3 1056 (9th Cir. 20210). Mercy
Housing held that cost and attorney’s fee to a prevailing defendant in a suit brought under the Fair
Housing Act “should not be assessed . . . unless a court finds that [the] claim was frivolous,
unreasonable, or groundless, or that the plaintiff continued to litigate after it clearly became so.” (Id. at
1058; internal quotation marks omitted.)

                 In granting costs, this Court found that “Plaintiffs filed their action in good faith and . . .
it had at least some merit.” (Docket No. 573, p. 7.)

              In light of Green and this Court’s finding of “at least some merit,” the Court orders the
City of Costa Mesa to show cause in writing within seven days why the Court should not withdraw its
Order at Docket No. 573.




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